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                     EXHIBIT A
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 MILLIMAN, INC., MILLIMAN                        )
 SOLUTIONS, LLC, and VIGILYTICS                  )
 LLC,                                            )
                                                 )
                   Plaintiffs,                   )
                                                 )       Civil Action No. 1:21-cv-10865-NMG
                      vs.                        )
                                                 )
 GRADIENT A.I. CORP., STANFORD A.                )
 SMITH, and SAMUEL CHASE PETTUS,                 )
                                                 )
                   Defendants.                   )
                                                 )

                            [PROPOSED] SCHEDULING ORDER

It is hereby ORDERED pursuant to Rule 16(b) of the Federal Rules of Civil Procedure and Local
Rules 16.1(f) and 16.6, that the following scheduling order shall be adopted in this action:

(A)    Preliminary Disclosures.

       (1)     Preliminary Patent-Related Disclosure.

       No later than July 21, 2022, the Plaintiffs shall serve and file preliminary disclosure of the
       claims infringed. The Plaintiffs shall specify which claims are allegedly infringed and
       identify the accused product(s) or method(s) that allegedly infringe those claims. The
       Plaintiffs shall also include an element-by-element description of where and how each
       claim is found in each accused product or system. The Plaintiffs shall also specify whether
       the alleged infringement is literal or falls under the doctrine of equivalents. If the Plaintiffs
       have not already done so, the Plaintiffs shall produce all documents supporting their
       contentions and/or identify any such supporting documents produced by the Defendants.
       Such disclosures may be amended and supplemented up to 30 days before the date of the
       Markman Hearing. After that time, such disclosures may be amended or supplemented only
       pursuant to ¶ D(1) or by leave of court, for good cause shown.

       (2)     Accused Infringer’s Preliminary Patent-Related Disclosures.

       No later than August 25, 2022, the Defendants shall serve and file Preliminary Invalidity
       and Non-Infringement Contentions as required under Local Rule 16.6(d)(4). The
       Defendants shall identify prior art that anticipates or renders obvious the identified patent
       claims in question and, for each such prior art reference, shall specify whether it anticipates
       or is relevant to the obviousness inquiry. If applicable, the Defendants shall also specify
       any other grounds for invalidity, such as indefiniteness, best mode, enablement, or written
       description. If the Defendants have not already done so, the Defendants shall produce
       documents relevant to the invalidity defenses and/or identify any such supporting
       documents produced by the Plaintiffs. Further, if the Defendants have not already done so,


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      the Defendants shall produce documents sufficient to show operation of the accused
      product(s) or method(s) that the Plaintiffs identified in their preliminary infringement
      disclosures. Such disclosures may be amended and supplemented up to 30 days before the
      date of the Markman Hearing. After that time, such disclosures may be amended or
      supplemented only pursuant to ¶ D(2) or by leave of court, for good cause shown, except
      that, if the Plaintiffs amend or supplement their preliminary infringement disclosures, the
      Defendants may likewise amend or supplement their disclosures within 30 days of service
      of the amended or supplemented infringement disclosures.

(B)   Claim Construction Proceedings.

         (1) No later than September 15, 2022, the parties shall simultaneously exchange a list
             of claim terms to be construed and proposed constructions.

         (2) No later than September 22, 2022, the parties shall confer by teleconference,
             videoconference, or in person regarding claim construction.

         (3) No later than September 29, 2022, the parties shall finalize the list of disputed terms
             for the court to construe. The parties shall prepare and file a joint claim construction
             and prehearing statement (hereafter the “joint statement”) that identifies both
             agreed and disputed terms.

                 (a) The joint statement shall note the anticipated length of time necessary for
                 the claim construction hearing and whether any party proposes to call witnesses,
                 including a statement that such extrinsic evidence does not conflict with
                 intrinsic evidence.

                 (b) The joint statement shall also indicate whether the parties will present
                 tutorials on the relevant technology, the form of such tutorials, and the timing
                 for such tutorials in relation to the claim construction hearing. If the parties plan
                 to provide tutorials in the form of briefs, declarations, computer animations,
                 slide presentations, or other media, the parties shall exchange such materials 7
                 days before the claim construction hearing. In the alternative, the parties may
                 present tutorials through presentations by the attorneys or experts at the claim
                 construction hearing.

                 (c) The joint statement shall include a proposed order in which parties will
                 present their arguments at the claim construction hearing, which may be term-
                 by-term or party-by-party, depending on the issues in the case.

                 (d) The joint statement shall limit the number of claim terms to be construed
                 and shall prioritize the disputed terms in order of importance. The Court
                 suggests that, ordinarily, no more than ten (10) terms per patent be identified as
                 requiring construction.

                 (e) The joint statement shall include a joint claim construction chart, noting
                 each party’s proposed construction of each term, and supporting evidence.



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         (4) No later than October 20, 2022, the parties shall simultaneously exchange and file
             opening claim construction briefs. Each opening brief shall contain a list of terms
             to be construed, the party’s proposed construction of each term, and evidence and
             argument supporting each construction. Each opening brief shall, absent leave of
             court, be limited to 10 pages, per asserted patent, double spaced, of at least 12-point
             Times New Roman font or equivalent, including footnotes.

         (5) No later than December 8, 2022, the parties shall simultaneously exchange and file
             responsive claim construction briefs. Each responsive brief shall, absent leave of
             court, be limited to 5 pages, per asserted patent, double spaced, of at least 12-point
             Times New Roman font or equivalent, including footnotes.

(C)   The Claim Construction Hearing (a.k.a. “Markman Hearing”)

      The Court shall schedule a hearing date promptly after the completion of claim construction
      briefing, no later than January 18, 2023.

(D)   After the Markman Hearing

         (1) If necessary, the Plaintiffs may amend their preliminary infringement disclosures,
             noting whether any infringement contentions are withdrawn, within 30 days after
             the Court’s ruling on the claim construction.

         (2) If necessary, the Defendants may amend their preliminary non-infringement and
             invalidity disclosures, noting whether any invalidity contentions are withdrawn,
             within 60 days after the Court’s ruling on the claim construction.

         (3) The fact discovery period shall close no later than August 31, 2023, or 60 days after
             entry of the Court’s ruling on claim construction, whichever is later.

(E)   Expert Discovery

      The parties shall complete expert discovery no later than December 6, 2023, or 90 days
      after the close of fact Discovery, whichever is later.

(F)   Dispositive/Daubert Motions

      The parties shall file Daubert and dispositive motions, such as motions for summary
      judgment or partial summary judgment, no later than December 21, 2023, or 15 days after
      the close of Expert Discovery, whichever is later.

(G)   Oppositions to Dispositive/Daubert Motions

      The parties shall file any oppositions to Daubert and dispositive motions no later than
      January 25, 2024.




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(H)    Trial

       The Court will set a trial date, if needed, no later than March 14, 2024.

(I)    Schedule and Deadlines

                         EVENT                                  AGREED-UPON DEADLINE

 Plaintiffs’ Disclosure of Alleged Trade Secrets with         March 28, 2022
 Particularity
 File and Serve Patentee’s Preliminary Patent-Related         July 21, 2022
 Disclosures
 Meet and Confer Regarding Patentee’s Preliminary             August 4, 2022
 Patent-Related Disclosures
 File and Serve Accused Infringer’s Preliminary               August 25, 2022
 Disclosures
 Exchange Claim Terms to be Construed and Proposed            September 15, 2022
 Claim Constructions
 Confer by Telephone or In Person Regarding Claim             September 22, 2022
 Construction
 Parties to File a Joint Statement of the Number of Claims    September 29, 2022
 and Terms to be Construed
 File and Serve Opening Claim Construction Briefs           October 20, 2022
 Deadline for Depositions of Claim Construction Experts     November 10, 2022
 File and Serve Responsive Claim Construction Briefs        December 8, 2022
 Claim Construction Hearing                                 At the Court’s convenience
                                                            following filing of the Joint Claim
                                                            Construction Statement, no later
                                                            than January 18, 2023
 Amendments to Pleadings                                    Except for good cause shown, no
                                                            motions seeking leave to add new
                                                            parties or to amend the pleadings to
                                                            assert new claims or defenses may
                                                            be filed more than 30 days after the
                                                            Court’s Claim Construction Ruling
 Serve Amended Preliminary Patent-Related Disclosures       With leave of the Court, within 28
                                                            days of the Court’s Claim
                                                            Construction Ruling
 Serve Amended Responsive Patent-Related Disclosures        With leave of the Court, within 28
                                                            days of Service of the Amended
                                                            Preliminary Patent-Related
                                                            Disclosures
 Deadline to serve written discovery requests (requests for June 29, 2023, or 60 days prior to
 production or documents, interrogatories, and requests     the close of fact discovery,
 for admission)                                             whichever is later.




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 Close of Fact Discovery                                    August 31, 2023, or 60 days after
                                                            the entry of the Court’s Claim
                                                            Construction Ruling, whichever is
                                                            later.
 Serve Expert Reports Pursuant to Rule 26(a)(2) by the      September 21, 2023, or 21 days
 Party With the Burden of Proof                             after the close of Fact Discovery,
                                                            whichever is later.
 Serve Responsive Expert Reports Pursuant to Rule           November 2, 2023, or 42 days after
 26(a)(2) by the Party Without the Burden of Proof          service of Expert Reports pursuant
                                                            to Rule 26(a)(2) by the Party with
                                                            the Burden of Proof, whichever is
                                                            later.
 Close of Expert Discovery                                  December 6, 2023, or 90 days after
                                                            the close of Fact Discovery,
                                                            whichever is later.
 Dispositive/Daubert Motions Deadline                       December 21, 2023, or 15 days
                                                            after the close of Expert Discovery,
                                                            whichever is later.
 Trial                                                      At the Court’s convenience, no
                                                            later than March 14, 2024.




Dated:                                               IT IS SO ORDERED

                                                     _________________________________

                                                     Hon. Nathaniel Gorton




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